                             Case 25-10518-MFW                       Doc 1        Filed 03/18/25            Page 1 of 26

 Fill in this information to identify the case:

 United States Bankruptcy Court for the:


                                  Delaware
 ____________________ District of _________________
                                        (State)
                                                           11
 Case number (If known): _________________________ Chapter _____                                                                   Check if this is an
                                                                                                                                      amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                         06/24

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




 1.   Debtor’s name                           Danimer Scientific, Inc.
                                              ______________________________________________________________________________________________________




 2.   All other names debtor used             Live Oak Acquisition Corp.
                                              ______________________________________________________________________________________________________
      in the last 8 years                     ______________________________________________________________________________________________________
                                              ______________________________________________________________________________________________________
      Include any assumed names,
                                              ______________________________________________________________________________________________________
      trade names, and doing business
      as names                                ______________________________________________________________________________________________________




 3.   Debtor’s federal Employer                8 ___
                                              ___ 4 – ___
                                                        1 ___
                                                           9 ___
                                                              2 ___
                                                                 4 ___
                                                                    5 1___ 8
                                                                           ___
      Identification Number (EIN)



 4.   Debtor’s address                        Principal place of business                                Mailing address, if different from principal place
                                                                                                         of business

                                              140         Industrial Boulevard
                                              ______________________________________________             _______________________________________________
                                              Number     Street                                          Number     Street


                                              ______________________________________________             _______________________________________________
                                                                                                         P.O. Box

                                              Bainbridge                  Georgia 39817
                                              ______________________________________________             _______________________________________________
                                              City                        State    ZIP Code              City                      State      ZIP Code


                                                                                                         Location of principal assets, if different from
                                                                                                         principal place of business
                                              Decatur
                                              ______________________________________________
                                              County                                                     _______________________________________________
                                                                                                         Number     Street

                                                                                                         _______________________________________________

                                                                                                         _______________________________________________
                                                                                                         City                      State      ZIP Code




 5.   Debtor’s website (URL)                  https://danimerscientific.com/
                                              ____________________________________________________________________________________________________




Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                            page 1
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Debtor        Danimer Scientific, Inc.
              _______________________________________________________                     Case number (if known)_____________________________________
              Name




 6.   Type of debtor                     Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                         Partnership (excluding LLP)
                                         Other. Specify: __________________________________________________________________

                                        A. Check one:
 7.   Describe debtor’s business
                                         Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                         Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                         Railroad (as defined in 11 U.S.C. § 101(44))
                                         Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                         Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                         Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                         None of the above

                                        B. Check all that apply:

                                         Tax-exempt entity (as described in 26 U.S.C. § 501)
                                         Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                            § 80a-3)
                                         Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                        C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                           http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                             3 ___
                                           ___  2 ___
                                                   5 ___
                                                      2

 8.   Under which chapter of the        Check one:
      Bankruptcy Code is the
      debtor filing?                     Chapter 7
                                         Chapter 9
                                         Chapter 11. Check all that apply:
                                                       Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                            insiders or affiliates) are less than $3,024,725 (amount subject to adjustment on
                                                            4/01/25 and every 3 years after that).
                                                         The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                            debtor is a small business debtor, attach the most recent balance sheet, statement
                                                            of operations, cash-flow statement, and federal income tax return or if all of these
                                                            documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                        The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and it
                                                            chooses to proceed under Subchapter V of Chapter 11.

                                                         A plan is being filed with this petition.
                                                         Acceptances of the plan were solicited prepetition from one or more classes of
                                                            creditors, in accordance with 11 U.S.C. § 1126(b).

                                                         The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                            Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                            Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                            for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                         The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                            12b-2.
                                         Chapter 12
 9.   Were prior bankruptcy cases        No
      filed by or against the debtor
      within the last 8 years?           Yes. District _______________________ When _______________ Case number _________________________
                                                                                            MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                              District _______________________ When _______________ Case number _________________________
                                                                                        MM / DD / YYYY


 Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                             page 2
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Debtor        Danimer Scientific, Inc.
              _______________________________________________________                      Case number (if known)_____________________________________
              Name



 10. Are any bankruptcy cases            No
     pending or being filed by a
     business partner or an
                                                      See Rider 1
                                         Yes. Debtor _____________________________________________ Relationship _________________________
     affiliate of the debtor?                              Delaware
                                                  District _____________________________________________ When               __________________
                                                                                                                            MM / DD / YYYY
     List all cases. If more than 1,
     attach a separate list.                      Case number, if known ________________________________



 11. Why is the case filed in this      Check all that apply:
     district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                            immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                            district.

                                         A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

 12. Does the debtor own or have         No See Rider 2
     possession of any real              Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
     property or personal property
     that needs immediate                        Why does the property need immediate attention? (Check all that apply.)
     attention?
                                                  It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                     What is the hazard? _____________________________________________________________________

                                                  It needs to be physically secured or protected from the weather.
                                                  It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                     attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                     assets or other options).

                                                  Other _______________________________________________________________________________


                                                 Where is the property?_____________________________________________________________________
                                                                           Number          Street

                                                                           ____________________________________________________________________

                                                                           _______________________________________         _______ ________________
                                                                           City                                            State ZIP Code


                                                 Is the property insured?
                                                  No
                                                  Yes. Insurance agency ____________________________________________________________________
                                                          Contact name     ____________________________________________________________________

                                                          Phone            ________________________________




             Statistical and administrative information



 13. Debtor’s estimation of             Check one:
     available funds                     Funds will be available for distribution to unsecured creditors.
                                         After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                         1-49                            1,000-5,000                              25,001-50,000
 14. Estimated number of
                                         50-99                           5,001-10,000                             50,001-100,000
     creditors (on a
     consolidated basis)
                                         100-199                         10,001-25,000                            More than 100,000
                                         200-999

 Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 3
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Debtor      Danimer Scientific, Inc.
            _______________________________________________________                             Case number (if known)_____________________________________
            Name



                                          $0-$50,000                         $1,000,001-$10 million                     $500,000,001-$1 billion
 15. Estimated assets (on a
                                          $50,001-$100,000                   $10,000,001-$50 million                    $1,000,000,001-$10 billion
 consolidated basis)
                                          $100,001-$500,000                  $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                          $500,001-$1 million                $100,000,001-$500 million                  More than $50 billion

                                          $0-$50,000                         $1,000,001-$10 million                     $500,000,001-$1 billion
 16. Estimated liabilities (on a
                                          $50,001-$100,000                   $10,000,001-$50 million                    $1,000,000,001-$10 billion
 consolidated basis)
                                          $100,001-$500,000                  $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                          $500,001-$1 million                $100,000,001-$500 million                  More than $50 billion


            Request for Relief, Declaration, and Signatures


 WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
            $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


 17. Declaration and signature of            The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
     authorized representative of
                                             petition.
     debtor
                                             I have been authorized to file this petition on behalf of the debtor.

                                             I have examined the information in this petition and have a reasonable belief that the information is true and
                                             correct.


                                         I declare under penalty of perjury that the foregoing is true and correct.

                                                        03/18/2025
                                            Executed on _________________
                                                        MM / DD / YYYY


                                          /s/ Stephen Martin
                                             _____________________________________________                Stephen Martin
                                                                                                          _______________________________________________
                                             Signature of authorized representative of debtor             Printed name

                                                   Chief Legal Officer and Corporate Secretary
                                             Title _________________________________________




 18. Signature of attorney
                                          /s/ Daniel J. DeFranceschi
                                             _____________________________________________                Date       03/18/2025
                                                                                                                     _________________
                                             Signature of attorney for debtor                                        MM     / DD / YYYY



                                             Daniel J. DeFranceschi
                                             _________________________________________________________________________________________________
                                             Printed name
                                             RICHARDS, LAYTON & FINGER, P.A.
                                             _________________________________________________________________________________________________
                                             Firm name
                                             920         North King Street
                                             _________________________________________________________________________________________________
                                             Number     Street
                                             Wilmington
                                             ____________________________________________________            Delaware ______________________________
                                                                                                             ____________ 19801
                                             City                                                            State        ZIP Code

                                             (302) 651-7700
                                             ____________________________________                             defranceschi@rlf.com
                                                                                                             __________________________________________
                                             Contact phone                                                   Email address



                                             No. 2732
                                             ______________________________________________________ Delaware
                                                                                                    ____________
                                             Bar number                                             State




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                  page 4
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Official Form 201A (12/15)

        [If debtor is required to file periodic reports (e.g., forms 10K and 10Q) with the Securities and Exchange Commission
        pursuant to Section 13 or 15(d) of the Securities Exchange Act of 1934 and is requesting relief under chapter 11 of the
        Bankruptcy Code, this Exhibit A shall be completed and attached to the petition.]

                                                             [Caption as in Form 416B]


                             Attachment to Voluntary Petition for Non-Individuals Filing for
                                            Bankruptcy under Chapter 11

            1. If any of the debtor=s securities are registered under Section 12 of the Securities Exchange Act of
        1934, the SEC file number is _______________.
                                       001-39280

            2. The following financial data is the latest available information and refers to the debtor=s condition on
        ______________.
        January 31, 2025

              a. Total assets                                                             $ 622,533,713

              b. Total debts (including debts listed in 2.c., below)                       $ 449,489,059
              c. Debt securities held by more than 500 holders
                                                                                                                           Approximate
                                                                                                                           number of
                                                                                                                           holders:

              secured        G   unsecured   G    subordinated       G     $ 216,700,000                                    Unknown
              secured        G   unsecured   G    subordinated       G     $
              secured        G   unsecured   G    subordinated       G     $
              secured        G   unsecured   G    subordinated       G     $
              secured        G   unsecured   G    subordinated       G     $

                                                                                                                            0
              d. Number of shares of preferred stock
              e. Number of shares common stock                                                                              3,175,864



            Comments, if any: The total assets and total debts in 2(a) and 2(b), respectively, are based on Danimer Scientific Inc.'s
        January 31, 2025 book end. While the Debtors do not believe they hold securities held by more than 500 holders, the Debtors have
        included amounts in 2(c) that may be widely held in an abundance of caution, and the debt amount provided in 2(c) above reflects
        the approximate principal amount outstanding as of the date hereof.
              3. Brief description of debtor=s business:
        Danimer Scientific, Inc. is a performance-polymer company specializing in bioplastic replacements for traditional petroleum based
        plastics.


            4. List the names of any person who directly or indirectly owns, controls, or holds, with power to vote,
        5% or more of the voting securities of debtor:
        Armistice Capital Master Fund Ltd., Stephen E. Croskrey




        Official Form 201A              Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                  Case 25-10518-MFW                Doc 1       Filed 03/18/25         Page 6 of 26




                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                                )
    In re:                                                      )         Chapter 11
                                                                )
    DANIMER SCIENTIFIC, INC., et al.,                           )         Case No. 25 – [_____] ( )
                                                                )
                    Debtors.1                                   )         (Joint Administration Requested)
                                                                )


                                                        Rider 1

          Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor
    in the United States Bankruptcy Court for the District of Delaware on the Date Hereof

                                          Danimer Scientific, Inc.
                                          Danimer Bioplastics, Inc.
                                      Danimer Scientific Holdings, LLC
                                      Danimer Scientific Kentucky, Inc.
                                    Danimer Scientific Manufacturing, Inc.
                                         Danimer Scientific, L.L.C.
                                         Meredian Bioplastics, Inc.
                                       Meredian Holdings Group, Inc.
                                               Meredian, Inc.
                                               Novomer, Inc.




1
     The Debtors in these chapter 11 cases and the last four digits of their respective federal tax identification numbers
     are: Danimer Scientific, Inc. (4518); Danimer Bioplastics, Inc. (8734); Danimer Scientific Holdings, LLC (8521);
     Danimer Scientific Kentucky, Inc. (6371); Danimer Scientific Manufacturing, Inc. (0322); Danimer Scientific,
     L.L.C. (7346); Meredian Bioplastics, Inc. (5822); Meredian Holdings Group, Inc. (7239); Meredian, Inc. (7507);
     and Novomer, Inc. (4173). The location of the Debtors' corporate headquarters is: 140 Industrial Boulevard,
     Bainbridge, Georgia, 39817.
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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                                )
    In re:                                                      )         Chapter 11
                                                                )
    DANIMER SCIENTIFIC, INC., et al.,                           )         Case No. 25 – [_____] ( )
                                                                )
                    Debtors.1                                   )         (Joint Administration Requested)
                                                                )


                                                        Rider 2

               Real Property or Personal Property that Needs Immediate Attention

Question 12, among other things, asks debtors to identify any property that poses or is alleged to
pose a threat of imminent and identifiable hazard to public health or safety.

The above-captioned debtor and its affiliated debtors and affiliated non-debtors (collectively, the
“Company”) are a performance polymer company specializing in bioplastic replacements for
traditional petroleum-based plastic. The Company does not believe it owns or possesses any real
or personal property that poses or is alleged to pose a threat of imminent and identifiable harm to
public health or safety. The Company notes that it is not aware of any definition of “imminent
and identifiable” harm as used in this form.




1
     The Debtors in these chapter 11 cases and the last four digits of their respective federal tax identification numbers
     are: Danimer Scientific, Inc. (4518); Danimer Bioplastics, Inc. (8734); Danimer Scientific Holdings, LLC (8521);
     Danimer Scientific Kentucky, Inc. (6371); Danimer Scientific Manufacturing, Inc. (0322); Danimer Scientific,
     L.L.C. (7346); Meredian Bioplastics, Inc. (5822); Meredian Holdings Group, Inc. (7239); Meredian, Inc. (7507);
     and Novomer, Inc. (4173). The location of the Debtors' corporate headquarters is: 140 Industrial Boulevard,
     Bainbridge, Georgia, 39817.
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                                                                                        Execution Version


                            UNANIMOUS WRITTEN CONSENT OF
                              THE BOARD OF DIRECTORS OF
                               DANIMER SCIENTIFIC, INC.


                                             March 18, 2025

        The undersigned, constituting all of the members of the board of directors (the "Board")
of Danimer Scientific, Inc. (the "Company") hereby take the following actions by unanimous
written consent without a meeting pursuant to (a) the organizational documents of the Company
and (b) Section 141(f) of the Delaware General Corporation Law.

        WHEREAS, pursuant to a unanimous written consent duly adopted on November 7, 2024,
the Board tasked its existing executive committee (the "Executive Committee") with evaluating,
reviewing, and negotiating any potential restructuring transaction and making recommendations
to the Board, among other things;

        WHEREAS, the Executive Committee and the Board have studied and considered the
financial condition of the Company and its subsidiaries (collectively, the "Company Group"),1
including the Company Group's immediate liquidity needs, liabilities, contractual obligations, the
short-term and long-term prospects available to the Company Group, the strategic alternatives
available to the Company Group and the related circumstances and situation, including the current
and reasonably foreseeable future conditions of the industry in which the Company Group
operates;

       WHEREAS, the Executive Committee and the Board have consulted with the Company
Group's financial and legal advisors and considered a variety of strategic alternatives available to
the Company Group;

        WHEREAS, the Executive Committee and the Board have determined that it is advisable
and in the best interests of the Company and the Company Group to (i) file for immediate
protection under chapter 11 of title 11 of the United States Code (the "Bankruptcy Code") and (ii)
file or cause to be filed voluntary petitions for relief (the "Chapter 11 Petitions," and the cases
commenced thereby, the "Chapter 11 Cases") pursuant to chapter 11 of the Bankruptcy Code in
the United States Bankruptcy Court for the District of Delaware, or another appropriate court (the
"U.S. Bankruptcy Court"), and any and all documents necessary or convenient to effect, cause, or
to promote the Chapter 11 Cases;

       WHEREAS, certain lenders (collectively, the "Super Senior Bridge Loan Lenders") have
agreed to provide post-petition financing to the Company Group under a debtor-in-possession



1
       For the avoidance of doubt, the term Company Group shall only include: (1) Danimer Scientific, Inc.;
       (2) Meredian Holdings Group, Inc.; (3) Danimer Scientific Manufacturing, Inc.; (4) Danimer Scientific
       Holdings, LLC; (5) Novomer, Inc.; (6) Danimer Scientific Kentucky, Inc.; (7) Danimer Scientific, L.L.C.;
       (8) Danimer Bioplastics, Inc.; (9) Meredian, Inc.; and (10) Meredian Bioplastics, Inc.
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facility (the "DIP Facility"), on the terms and subject to the conditions set forth in that certain term
sheet for the DIP Facility provided by certain of the Super Senior Bridge Loan Lenders party
thereto (in their capacity as lender under the DIP Facility, the "DIP Lenders");

       WHEREAS, the Company Group will obtain benefits from the use of collateral, including
cash collateral, as that term is defined in section 363(a) of the Bankruptcy Code (the "Cash
Collateral"), which is security for the claims held by the Company Group's secured lenders;

       WHEREAS, the Board has reviewed and considered the need for the Chapter 11 Cases
and have (x) determined that it is advisable, fair to, and in the best interests of the Company and
the Company Group to approve the filing of the Chapter 11 Cases and (y) recommended that the
Board pursue, adopt and approve the filing of the Chapter 11 Cases; and

       WHEREAS, after review of (i) the financial condition of the Company Group, the current
and reasonably foreseeable future conditions of the industry in which the Company Group
operates, the outlook for the Company Group's businesses and the other alternatives available to
the Company Group, (ii) the liquidity position of the Company Group and necessary use of the
Cash Collateral, and (iii) such other considerations as the Board deems relevant, the Board,
following consultation with the financial and legal advisors to the Company Group, have
determined that it is advisable and in the best interests of the Company Group to pursue the Chapter
11 Cases, as approved in this written consent.

        NOW, THEREFORE, BE IT RESOLVED, that the Board hereby authorizes and
empowers each duly appointed director, authorized person or officer of the Company and each of
its subsidiaries, (each an "Authorized Officer" and, collectively, the "Authorized Officers"), to
take such actions or cause to be prepared and/or executed any documents related to the Chapter 11
Cases, and incur and pay or cause to be paid all fees and expenses and engage such persons, negotiate
and finalize the terms of the DIP Financing as authorized by the Board, in each case, as the
Authorized Officer taking such action shall in his or her judgment determine to be necessary or
appropriate to effectuate the Chapter 11 Cases, which determination shall be conclusively evidenced
by such Authorized Officer's execution or delivery thereof;

Chapter 11 Filing

        FURTHER RESOLVED, that the Board hereby determines that it is advisable and in the
best interests of the Company and the Company Group to file the Chapter 11 Petitions pursuant to
chapter 11 of the Bankruptcy Code with the U.S. Bankruptcy Court;

      FURTHER RESOLVED, that the Board hereby authorizes the Company and the
Company Group to file or cause to be filed the Chapter 11 Petitions pursuant to chapter 11 of the
Bankruptcy Code with the U.S. Bankruptcy Court;

        FURTHER RESOLVED, that the Board hereby authorizes and empowers each
Authorized Officer to execute, deliver, and file or cause to be filed with the U.S. Bankruptcy Court
on behalf of the Company and the Company Group, the Chapter 11 Petitions, in such form as
prescribed by the official forms promulgated pursuant to the Bankruptcy Code;
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        FURTHER RESOLVED, that the Board hereby authorizes and empowers each
Authorized Officer to execute, deliver, and file or cause to be filed with the U.S. Bankruptcy Court
all papers, motions, applications, schedules, and pleadings necessary, appropriate, or convenient
to facilitate the Chapter 11 Cases and all of its matters and proceedings, and any and all other
documents necessary, appropriate, or convenient in connection with the commencement or
prosecution of the Chapter 11 Cases, each in such form or forms as the Authorized Officer may
approve;

Debtor-in-Possession Financing, Cash Collateral and Adequate Protection

        FURTHER RESOLVED, that the Board hereby determines that the Company Group will
obtain benefits from the loans and other financial accommodations under the DIP Facility and the
consummation of the Financing Transactions under the DIP Loan Documents (each as defined
below) which are necessary and appropriate to the conduct, promotion, and attainment of the
business of the Company Group;

       FURTHER RESOLVED, that the Board hereby authorizes and approves, in all respects,
the Company Group's entry into the DIP Facility, as finalized by those directors delegated with
such authority, together with any agreements or documentation relating thereto (collectively, the
"DIP Loan Documents"), and the performance of its obligations thereunder;

        FURTHER RESOLVED, that the Board hereby authorizes and empowers each
Authorized Officer to take such actions and negotiate or cause to be prepared and negotiated and
to execute, file, and deliver the DIP Loan Documents, with such changes, additions, and
modifications thereto as any Authorized Officer executing the same shall approve, such approval
to be conclusively evidenced by such Authorized Officer's execution or delivery thereof, cause the
Company Group to perform their obligations under the DIP Loan Documents, or any amendments
or modifications thereto that may be contemplated by, or required in connection with, the Chapter
11 Cases, and incur and pay or cause to be paid all fees and expenses and engage such persons, in
each case, as any such Authorized Officer shall in his or her judgment determine to be necessary
or appropriate to consummate the Chapter 11 Transactions, which determination shall be
conclusively evidenced by such Authorized Officer's execution or delivery thereof;

        FURTHER RESOLVED, that the Board hereby authorizes and empowers each
Authorized Officer and the Company Group to: (i) undertake any and all transactions contemplated
by the DIP Loan Documents, on substantially the terms and subject to the conditions set forth in
the DIP Loan Documents or as may hereafter be fixed or authorized by the Board, any Authorized
Officer, or the Company; (ii) borrow funds from, provide guaranties to, pledge their assets as
collateral to, and undertake any and all related transactions contemplated thereby (collectively, the
"Financing Transactions," and each such transaction, a "Financing Transaction") with the DIP
Lenders and on such terms as may be approved by any Authorized Officer, as reasonably necessary
or appropriate for the continuing conduct of the affairs of the Company Group; (iii) execute and
deliver and cause the Company Group to incur and perform their obligations under the DIP Loan
Documents and Financing Transactions; (iv) finalize the DIP Loan Documents and Financing
Transactions, consistent in all material respects with the drafts thereof that have been presented to
and reviewed by the Board; and (v) pay related fees and grant security interests in and liens upon
some, any, or all of the Company Group's assets, as may be deemed necessary by any Authorized
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Officer in connection with such Financing Transactions;

        FURTHER RESOLVED, that the Board hereby authorizes and empowers each
Authorized Officer to take such actions and negotiate or cause to be prepared and negotiated and
to execute, file, deliver and cause the Company Group to incur and perform its obligations under
the DIP Loan Documents and all other agreements, instruments and documents (including, without
limitation, any and all other intercreditor agreements, joinders, mortgages, deeds of trust, consents,
notes, pledge agreements, security agreements, control agreements, and any agreements with any
entity (including governmental authorities) requiring or receiving cash collateral or other credit
support with proceeds from the DIP Credit Agreement) or any amendments thereto or waivers
thereunder (including, without limitation, any amendments, waivers or other modifications of any
of the DIP Loan Documents or the Super Senior Bridge Loan Documents) that may be
contemplated by, or required in connection with, the DIP Loan Documents and the Financing
Transactions, and incur and pay or cause to be paid all fees and expenses and engage such persons,
in each case, as such Authorized Officer shall in his or her judgment determine to be necessary or
appropriate to consummate the transactions contemplated by the DIP Loan Documents, which
determination shall be conclusively evidenced by such Authorized Officer's execution or delivery
thereof;

         FURTHER RESOLVED, that the Board hereby authorizes and empowers each
Authorized Officer to authorize the DIP Lenders to file any UCC financing statements or other
personal property financing statements, mortgages, notices, and any necessary assignments for
security or other documents in the name of the Company Group that the DIP Lenders deem
necessary or appropriate to perfect any lien or security interest granted under the DIP Loan
Documents, including any such UCC financing statement containing a generic description of
collateral, such as "all assets," "all property now or hereafter acquired" and other similar
descriptions of like import, and to execute and deliver, and to record or authorize the recording of,
such mortgages and deeds of trust in respect of real property of the Company Group and such other
filings in respect of intellectual and other property of the Company Group, in each case as the DIP
Lenders may reasonably request to perfect the security interests granted under the DIP Loan
Documents;

         FURTHER RESOLVED, that the Board hereby authorizes and empowers each
Authorized Officer to execute and deliver any amendments, supplements, modifications, renewals,
replacements, consolidations, substitutions, and extensions of the DIP Loan Documents and the
Super Senior Bridge Loan Documents, and to execute and file on behalf of the Company Group
all petitions, schedules, lists, and other motions, papers, or documents, which shall in his or her
sole judgment be necessary, proper, or advisable, which determination shall be conclusively
evidenced by such Authorized Officer's execution or delivery thereof;

        FURTHER RESOLVED, that in order to use and obtain the benefits of the Cash
Collateral, and in accordance with section 363 of the Bankruptcy Code, the Board hereby
authorizes the Company Group to provide certain adequate protection to the Super Senior Bridge
Loan Lenders and the lenders under that certain Financing Agreement, dated as of March 17, 2023
(as amended, supplemented, restated, amended and restated, or otherwise modified from time to
time) (the "Adequate Protection Obligations"), as documented in a proposed interim order (any
such order, the "Interim DIP Order") and a proposed final order (any such order, the "Final DIP
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Order," and together with the Interim DIP Order, the "DIP Orders") described to the Board and
submitted for approval to the U.S. Bankruptcy Court;

        FURTHER RESOLVED, that the Board hereby approves the form, terms, and provisions
of the DIP Orders to which the Company Group are or will be subject, and the actions and
transactions contemplated thereby and authorize and empower each Authorized Officer to take
such actions and negotiate, or cause to be prepared and negotiated, and to execute, deliver, perform,
and cause the performance of, the DIP Orders and the DIP Loan Documents (together, the "DIP
Documents"), incur and pay or cause to be paid all fees and expenses and engage such persons, in
each case, on substantially the terms and subject to the conditions described to the Board, with
such changes, additions, and modifications thereto as the Authorized Officer executing the same
shall approve, such approval to be conclusively evidenced by such Authorized Officer's execution
or delivery thereof;

       FURTHER RESOLVED, that the Board hereby authorizes the Company Group, as
debtors and debtors in possession under the Bankruptcy Code, to incur the Adequate Protection
Obligations and to undertake any and all related transactions on substantially the same terms as
contemplated under the DIP Documents (collectively, the "Adequate Protection Transactions");

         FURTHER RESOLVED, that the Board hereby authorizes and empowers each
Authorized Officer to take such actions as in their discretion is determined to be necessary,
appropriate, or advisable and execute the Adequate Protection Transactions, including delivery of:
(i) the DIP Documents and such agreements, certificates, instruments, guaranties, notices, and any
and all other documents, including, without limitation, any amendments to any DIP Documents
(collectively, the "Adequate Protection Documents"); (ii) such other instruments, certificates,
notices, assignments, and documents as may be reasonably requested by the Super Senior Bridge
Loan Lenders; and (iii) such forms of deposit, account control agreements, officer's certificates,
and compliance certificates as may be required by the DIP Documents or any other Adequate
Protection Documents;

       FURTHER RESOLVED, that the Board hereby authorizes and empowers each
Authorized Officer to take all such further actions, including, without limitation, to pay or approve
the payment of all fees and expenses payable in connection with the Adequate Protection
Transactions and all fees and expenses incurred by or on behalf of the Company Group in
connection with these resolutions, in accordance with the terms of the Adequate Protection
Documents, which shall in his or her sole judgment be necessary, appropriate, or advisable to
perform any of the Company Group obligations under or in connection with the DIP Orders or any
of the other Adequate Protection Documents and the transactions contemplated thereby and to
carry out fully the intent of this written consent;

       Retention of Professionals

        FURTHER RESOLVED, that the Board hereby approves the Company Group's
engagement of Vinson & Elkins L.L.P. ("V&E") as general bankruptcy counsel to represent and
assist the Company Group in carrying out their duties under the Bankruptcy Code in the U.S.
Bankruptcy Court, and to take any and all actions to advance the Company Group's rights and
obligations, including filings and pleadings, and each Authorized Officer is hereby authorized and
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empowered to take such actions as may be required to so engage V&E for such purposes; and in
connection therewith, each Authorized Officer, with power of delegation, is hereby authorized and
empowered to execute appropriate retention agreements, pay appropriate retainers to, and cause to
be filed an appropriate application for authority to retain the services of V&E;

        FURTHER RESOLVED, that the Board hereby approves the Company Group's
engagement of Richards, Layton & Finger, PA ("RLF") as Delaware local counsel to represent
and assist the Company Group in carrying out their duties under the Bankruptcy Code in the U.S.
Bankruptcy Court, and to take any and all actions to advance the Company Group's rights and
obligations, including filings and pleadings, and each Authorized Officer is hereby authorized and
empowered to take such actions as may be required to so engage RLF for such purposes; and in
connection therewith, each Authorized Officer, with power of delegation, is hereby authorized and
empowered to execute appropriate retention agreements, pay appropriate retainers to, and cause to
be filed an appropriate application for authority to retain the services of RLF;

        FURTHER RESOLVED, that the Board hereby approves the Company Group's
engagement of AlixPartners, LLP ("AlixPartners") as financial advisors to represent and assist the
Company Group in carrying out their duties under the Bankruptcy Code in the U.S. Bankruptcy
Court, and to take any and all actions to advance the Company Group's rights and obligations, and
each Authorized Officer is hereby authorized and empowered to take such actions as may be
required to so engage AlixPartners for such purposes; and in connection therewith, each
Authorized Officer, with power of delegation, is hereby authorized and empowered to execute
appropriate retention agreements, pay appropriate retainers to, and cause to be filed an appropriate
application for authority to retain the services of AlixPartners;

        FURTHER RESOLVED, that the Board hereby approves the Company Group's
engagement of Stretto, Inc. ("Stretto") as notice, claims, and solicitation agent to represent and
assist the Company Group in carrying out their duties under the Bankruptcy Code in the U.S.
Bankruptcy Court, and to take any and all actions to advance the Company Group's rights and
obligations, is hereby approved, and each Authorized Officer is hereby authorized and empowered
to take such actions as may be required to so engage Stretto for such purposes; and in connection
therewith, each Authorized Officer, with power of delegation, is hereby authorized and empowered
to execute appropriate retention agreements, pay appropriate retainers to, and cause to be filed an
appropriate application for authority to retain the services of Stretto;

        FURTHER RESOLVED, that the Board hereby authorizes and empowers each
Authorized Officer to employ any other professionals to assist the Company Group in carrying out
their duties under the Bankruptcy Code; and in connection therewith, each Authorized Officer,
with power of delegation, is hereby authorized and empowered to execute appropriate retention
agreements, pay appropriate retainers and fees, and to cause to be filed an appropriate application
for authority to retain the services of any other professionals as necessary;

General

       FURTHER RESOLVED, that the Board hereby authorizes and empowers each
Authorized Officer, on behalf of the Company Group, to certify and attest to any documents that
he or she may deem necessary, appropriate, or convenient to consummate any transactions
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necessary to effectuate the foregoing resolutions; provided, such attestation shall not be required
for the validity of any such documents;

       FURTHER RESOLVED, that any and all actions heretofore or hereafter taken by the
Authorized Officers, or any of them, within the foregoing resolutions, are, and each of them is,
hereby ratified, confirmed and approved;
       FURTHER RESOLVED, that the Authorized Officers are, and each of them is, hereby
authorized and empowered in the name and on behalf of the Company, to execute and deliver such
agreements, instruments and documents, and to take or cause to be taken such other actions, as
such Authorized Officer or Authorized Officers may determine to be necessary or advisable to
implement the purposes and intent of the foregoing resolutions; each such agreement, instrument
and document to be in such form and to contain such terms and conditions, consistent with the
foregoing resolutions, as such Authorized Officer or Authorized Officers executing the same may
approve, the execution and delivery of any such agreement, instrument or document by any such
Authorized Officer or the taking of such action to be conclusive evidence of such authorization
and approval;

         FURTHER RESOLVED, that this consent may be executed and delivered by facsimile,
.pdf or other electronic means, and such execution shall be considered valid, binding and effective
for all purposes; and

       FURTHER RESOLVED, that this consent may be executed and delivered in one or more
counterparts, all of which taken together shall be considered to be one and the same written
consent.
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IN WITNESS WHEREOF, the undersigned have executed this written consent to be effective as
of the date first written above.



 ___________________________________           ______________________________
 Richard Altice                                Gregory Hunt


 ___________________________________           ______________________________
 John Amboian                                  Allison Leopold Tilley


 ___________________________________           ______________________________
 Philip Gregory Calhoun                        Dr. David Moody


 ___________________________________           ______________________________
 Stephen E. Croskrey                           Dr. Isao Noda


 ___________________________________           ______________________________
 Richard Hendrix                               Stuart Pratt




                                    [Signature Page to
                            the Unanimous Written Consent of
                     the Board of Directors of Danimer Scientific, Inc.]
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Fill in this information to identify the case:
Debtor Name: Danimer Scientific, Inc., et al.                                                                                Check if this is an amended filing
United States Bankruptcy Court for the: District of Delaware
Case number (If known):__________

Official Form 204                                                                                   216717847.1
Chapter 11 or Chapter 9 Cases: List of Creditors the 30 Who Have
Unsecured Claims and Are Not Insiders

A list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 30 largest unsecured claims.

Name of creditor and complete mailing address,    Name, telephone number, and email address         Nature of the claim Indicate if claim      Amount of unsecured claim
including zip code                                of creditor contact                               (for example, trade    is contingent,      If the claim is fully unsecured, fill in only
                                                                                                    debts, bank loans,     unliquidated, or    unsecured claim amount. If claim is partially
                                                                                                    professional services, disputed            secured, fill in total claim amount and deduction
                                                                                                    and government                             for value of collateral or setoff to calculate
                                                                                                    contracts)                                 unsecured claim.
                                                                                                                                               Total claim, if     Deduction for   Unsecured
                                                                                                                                               partially           value of        claim
                                                                                                                                               secured             collateral or
                                                                                                                                                                   setoff

 1   U.S. Bank National Association               Bradley Scarbrough                                Convertible Notes                                 $0                 $0        $216,946,864
     425 Walnut Street                            (p) 213-615-6047
     Cincinnati, OH 45202                         (e) bradley.scarbrough@usbank.com
     USA

 2   Centerview Partners LLC                      General Counsel’s Office                          Professional Services                             $0                 $0          $700,000
     31 West 52nd Street, 22nd Floor              (p) 212-380-2650
     New York, NY 10019
     USA

 3   Shareholder Representative Services LLC      Managing Director                                 Sale Settlement                                   $0                 $0          $500,000
     950 17th Street, Suite 1400                  (p) 303-648-4085                                  Adjustment
     Denver, CO 80202                             (e) deals@srsacquiom.com
     USA

 4   Kane Kessler, P.C.                           Rob Lawrence / Aris Haigian                       Professional Services                             $0                 $0          $271,006
     600 Third Ave, 35th Floor                    (p) 212-541-6222
     New York, NY 10016-1901                      (e) rlawrence@kanekessler.com /
     USA                                          ahaigian@kanekessler.com

 5   NYSE Market (DE), Inc.                       Lynn Martin                                       Stock Exchange                                    $0                 $0          $225,674
     11 Wall St                                   (p) 212-656-3000
     New York, NY 60673                           (e) ar@nyse.nyse.com
     USA

 6   Mitsubishi Chemical                          Cathy Baker / Dennis Tayler                       Trade Debt                                        $0                 $0          $192,000
     9115 Harris Corners Pkwy, Ste 300            (p) 864-879-5761
     Charlotte, NC 28269                          (f) 864-879-5618
     USA                                          (e) cathy.baker@mcgc.com /
                                                  dennis.taylor@mcgc.com
 7   Bunge                                        Greg Heckman                                      Trade Debt                                        $0                 $0          $186,942
     1391 Timberlake Manor Parkway                (p) 855-292-7581
     Chesterfield, MO 63017                       (e) greg.heckman@bunge.com
     USA

 8   BASF Corporation                             Karen Killeen                                     Trade Debt                                        $0                 $0          $157,146
     29492 Network Place                          (p) 862-229-3754
     Chicago, IL 60673-1294                       (e) karen.killeen@basf.com
     USA

 9   Kentucky Utilities                           Tom Jessee                                        Utilities                                         $0                 $0          $155,298
     500 Stone Rd                                 (p) 800-331-7370
     Lexington, KY 40503                          (f) 502-217-3000
     USA

 10 Chemical Resources, Inc.                      Teresa Brown                                      Trade Debt                                        $0                 $0          $141,912
    1121 Solutions Center                         (p) 502-367-2228
    Chicago, IL 60677                             (f) 502-367-6661
    USA                                           (e) brownt@chemgroup.com

 11 Winchester Municipal Utilities                Susie Kiniry                                      Utilities                                         $0                 $0          $126,607
    150 North Main St. PO Box 4177                (p) 859-744-5434
    Winchester, KY 40392                          (e) susie@wmuutilities.com
    USA

 12 American Welding & Gas Inc.                   Sean Bennett                                      Trade Debt                                        $0                 $0          $105,303
    6944 S Pulaski Rd                             (p) 800-967-6874
    Chicago, IL 60629                             (f) 859-737-5312
    USA                                           (e) sean.bennett@awggases.com

 13 Total Corbion PLA bv                          Chiel Rietvelt                                    Trade Debt                                        $0                 $0           $99,739
    Stadhuisplein 70 4203 NS                      (p) 866-221-3372
    Gorinchem,                                    (f) 713-483-5252
    NLD

 14 CBIZ INC                                      Ceil Delsanter                                    Trade Debt                                        $0                 $0           $94,050
    5959 Rockside Woods Blvd. N., Suite 600       (p) 440-459-5882
    Cleveland, OH 44131                           (e) Ceil.Delsanter@marcumllp.com
    USA




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Name of creditor and complete mailing address,   Name, telephone number, and email address           Nature of the claim Indicate if claim     Amount of unsecured claim
including zip code                               of creditor contact                                 (for example, trade    is contingent,     If the claim is fully unsecured, fill in only
                                                                                                     debts, bank loans,     unliquidated, or   unsecured claim amount. If claim is partially
                                                                                                     professional services, disputed           secured, fill in total claim amount and deduction
                                                                                                     and government                            for value of collateral or setoff to calculate
                                                                                                     contracts)                                unsecured claim.
                                                                                                                                               Total claim, if   Deduction for   Unsecured
                                                                                                                                               partially         value of        claim
                                                                                                                                               secured           collateral or
                                                                                                                                                                 setoff
 15 Symmetry Energy Solutions, Inc               Darlene Rivers                                      Utilities                                        $0               $0            $90,844
    9811 Katy Freeway, Suite 1400                (p) 888-200-3788
    Houston, TX 77024                            (e) darlene.rivers@symmetryenergy.com
    USA

 16 NatureWorks, LLC                             Jerry Goneau                                        Trade Debt                                       $0               $0            $83,756
    17400 Medina Road, Suite 800                 (p) 402-237-3886
    Plymouth, MN 55447                           (f) 952-931-1454
    USA                                          (e) jerrry_goneau@natureworkllc.com

 17 Omya, Inc.                                   Rabun Lewis                                         Trade Debt                                       $0               $0            $77,939
    9987 Carver Rd #300                          (p) 770-500-0373
    Blue Ash, OH 45242                           (f) 802-776-8178
    USA                                          (e) contact_ar_us@omya.com

 18 Blough Tech, Inc.                            Paul Blough                                         Trade Debt                                       $0               $0            $76,918
    119 S Broad St                               (p) 229-377-8825
    Cairo, GA 39828                              (f) 229-377-6784
    USA                                          (e) paulblough@bloughtech.com

 19 Peak Technical Services, INC.                Daniel Tucker                                       Trade Debt                                       $0               $0            $67,111
    583 Epsilon Drive                            (p) 888-891-0845
    Pittsburgh, PA 15238                         (f) 412-696-1043
    USA                                          (e) danieltucker@peaktechnical.com

 20 Azelis Netherlands B.V.                      Gerwin Elzinga                                      Trade Debt                                       $0               $0            $63,200
    Rijnerf 17 3861 PV Nijkerk                   (p) 31-355-485-896
    3743 KM BA Stationsplein 62,                 (e) gerwin.elzinga@azelis.com
    BEL

 21 Vantage Specialties Inc.                     Mark Valentino                                      Trade Debt                                       $0               $0            $52,037
    563 Napor Blvd                               (p) 847-280-0669
    Pittsburgh, PA 15205                         (f) 773-579-5847
    USA                                          (e) mark.valentino@vantagegrp.com

 22 Winchester Warehouse                         Steve Miller                                        Trade Debt                                       $0               $0            $49,923
    1465 W. Lexington Ave                        (p) 859-744-3191
    Winchester, KY 40391                         (e) opman@kywarehouse.com
    USA

 23 American Express                             Laureen E. Seeger                                   Credit Card                                      $0               $0            $45,893
    200 Vesey Street                             (p) 212-640-5574
    New York, NY 10285                           (e) laureen.e.seeger@aexp.com
    USA

 24 Delinea Inc.                                 Dianne Tayag                                        Trade Debt                                       $0               $0            $45,833
    221 Main St. Ste 1300                        (p) 669-444-5200
    San Francisco, CA 94105                      (e) dianne.tayag@c.delinea.com
    USA

 25 Enerfab Process Solutions & Fabricated       Aaron Landolt                                       Trade Debt                                       $0               $0            $41,710
    Products                                     (p) 513-641-0500
    4430 Chickering Avenue                       (f) 513-482-7699
    Cincinnati, OH 45232                         (e) aaron.landolt@enerfab.com
    USA
 26 Funke Filters, Inc.                          Miranda Cox                                         Trade Debt                                       $0               $0            $41,214
    464 Old State Rte 74                         (p) 800-543-7070
    Cincinnati, OH 45244                         (f) 513-528-5575
    USA                                          (e) mcox@funkefilters.com

 27 KPMG LLP                                     Delane Myers                                        Professional Services                            $0               $0            $41,200
    2323 Ross Ave Suite 1400                     (p) 770-920-7707
    Dallas , TX 75201                            (e) fmyers@kpmg.com
    USA

 28 FloQast, Inc                                 Sydney Morris                                       Trade Debt                                       $0               $0            $39,840
    14721 Califa St.                             (p) 818-698-8262
    Sherman Oaks, CA 91411                       (e) sydney.morris@floqast.com
    USA

 29 Normec OWS Inc.                              Christopher Ecker                                   Trade Debt                                       $0               $0            $38,407
    4738 Gateway Circle Ste. K208                (p) 614-769-5903
    Dayton, OH 45440                             (e) christopher.ecker@normecgroup.com
    USA

 30 International Paper Company                  Thomas Hamic                                        Trade Debt                                       $0               $0            $37,926
    1645 International Park Dr SE                (p) 513-248-6330
    Atlanta, GA 30316                            (f) 513-248-6782
    USA                                          (e) tom.hamic@ipaper.com




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                    IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF DELAWARE

                                                   )
  In re:                                           )       Chapter 11
                                                   )
  DANIMER SCIENTIFIC, INC.,                        )       Case No. 25 – [_____] ( )
                                                   )
                Debtor.                            )       (Joint Administration Requested)
                                                   )


      CORPORATE OWNERSHIP STATEMENT (RULES 1007(A)(1) AND 7007.1)

Pursuant to Rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure, the
following are corporations, other than the debtor or a governmental unit, that directly own 10%
or more of any class of the corporation's equity interests:

                                                              Type/Class Percentage
           Corporate Equity         Address of Corporate
                                                              of Interest of Equity
              Holder(s)               Equity Holder(s)
                                                                             Held
               Cede & Co.            55 WATER ST STE           Common       91.4%
                                    CONC3, NEW YORK,
                                         NY 10041
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                    IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF DELAWARE

                                                   )
  In re:                                           )       Chapter 11
                                                   )
  DANIMER SCIENTIFIC, INC.,                        )       Case No. 25 – [_____] ( )
                                                   )
                Debtor.                            )       (Joint Administration Requested)
                                                   )


               LIST OF EQUITY SECURITY HOLDERS (RULE 1007(a)(3))

Pursuant to Rule 1007(a)(3) of the Federal Rules of Bankruptcy Procedure, the following list
identifies all known holders having a direct or indirect ownership interest of the above captioned
debtor in possession, which removes certain personal identification information as requested by
the Debtors in the Debtors' Motion of Debtors for Entry of an Order (I) Authorizing Debtors to
Redact Certain Personal Identification Information, (II) Waiving the Requirement to File a
List of Equity Security Holders of Danimer Scientific, Inc., (III) Approving the Form and Manner
of Notice of Commencement, and (IV) Granting Related Relief filed contemporaneously herewith.
All equity positions indicate the record holder of such equity as of the date of commencement of
this chapter 11 case.
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                                                       Registered Holders List

                       Holder Name                                           Address            Class of Interest   Number of Shares
  ALAN JENKINS                                             ADDRESS ON FILE                      Common Stock                       2
  ALEJANDRO FEELY                                          ADDRESS ON FILE                      Common Stock                      52
  ALLEN EUGENE GRAHAM                                      ADDRESS ON FILE                      Common Stock                      11
  AMANDA IVEY ANDREWS                                      ADDRESS ON FILE                      Common Stock                      11
  AMELIA QINGJU WALKER                                     ADDRESS ON FILE                      Common Stock                     133
  ANDREW J. ECONOMOS IRREVOCABLE TRUST                     ADDRESS ON FILE                      Common Stock                     136
  ANGELA D HORNSBY                                         ADDRESS ON FILE                      Common Stock                       3
  ANIR PATEL                                               ADDRESS ON FILE                      Common Stock                       5
  ANIR PATEL                                               ADDRESS ON FILE                      Common Stock                      91
  ANNA RUTH ADAMS                                          ADDRESS ON FILE                      Common Stock                       2
  ANTHONY GIAQUINTO                                        ADDRESS ON FILE                      Common Stock                      54
  ANTHONY HOFFMAN PER REP ESTATE OF ALBERT MOSES
  JR                                                       ADDRESS ON FILE                      Common Stock                       1
  ANTHONY JONES                                            ADDRESS ON FILE                      Common Stock                     208
  ARTICLE IV-FAM TR-UW RAYMOND A MILES, WY NEMA
  MILES, TRUSTEE                                           ADDRESS ON FILE                      Common Stock                       1
                                                           10152 ENCHANTED OAK DR
  B.O.C. INVESTMENTS, LLC                                  GOLDEN OAK, FL 32836-4004            Common Stock                      27
                                                           ATTN: REORG DEPT, 1 PERSHING PLAZA
  BAINBRIDGE MEDICAL ASC PC RE PL AS CUSTO DIAN FBO        7TH FLR
  MALLORY MCRAE QPR A/C # 3WC0205                          JERSEY CITY, NJ 07399                Common Stock                       5
  BALANCE ACCOUNT FOR UNEXCHANGE SHARES UNEX3 &            1 STATE ST
  UNX1 & UNEX                                              NEW YORK, NY 10004-1561              Common Stock                   8,869
  BARBARA ANN BARBER                                       ADDRESS ON FILE                      Common Stock                       1
  BENJAMIN GARRISION BROCK                                 ADDRESS ON FILE                      Common Stock                       6
  BILL BRIDGES                                             ADDRESS ON FILE                      Common Stock                       6
  BOBBY ERIC ENFINGER                                      ADDRESS ON FILE                      Common Stock                       2
  BRADLEY A. WALLACE                                       ADDRESS ON FILE                      Common Stock                      91
  BRADLEY B. JOHNSON                                       ADDRESS ON FILE                      Common Stock                      11
                                                           2976 BARTOW GIBSON HWY
  BRECKENRIDGE - MIZZELL INVESTMENTS, LLC                  DONALSONVILLE, GA 39845-6111         Common Stock                       3
  BRIAN SUTH                                               ADDRESS ON FILE                      Common Stock                       7
                                                           PO BOX 1950
  C AND B FINANCIAL INVESTORS, LLC                         BAINBRIDGE, GA 39818-1950            Common Stock                      31
  CATHRYN W HAGAN SIMPLE IRA CETERA INV CUST               ADDRESS ON FILE                      Common Stock                       1
                                                           570 WASHINGTON BLVD
  CEDE & CO                                                JERSEY CITY, NJ 07310-1617           Common Stock               2,917,993
  CELIA P. HALL                                            ADDRESS ON FILE                      Common Stock                       2
  CHARLES AND ROBIN RENAUD                                 ADDRESS ON FILE                      Common Stock                      13
  CHARLES BONNER ASKEW                                     ADDRESS ON FILE                      Common Stock                      14
  CHARLES W. GRIFFIN                                       ADDRESS ON FILE                      Common Stock                       8
  CHIHO NODA                                               ADDRESS ON FILE                      Common Stock                     250
  CHRISTINE J. DAY                                         ADDRESS ON FILE                      Common Stock                      99
  CHRISTOPHER A. ESTES                                     ADDRESS ON FILE                      Common Stock                       1
  CHRISTOPHER H. KELLEY                                    ADDRESS ON FILE                      Common Stock                       3
                                                           3116 JOHN D ODOM RD
  CLAM INVESTMENTS. LLC                                    DOTHAN, AL 36303-0936                Common Stock                      10
  COGNETTA FAMILY TRUST UTA                                ADDRESS ON FILE                      Common Stock                      58
                                                           314 GORDON AVE
  CONIFER PARTNERS III, LLC                                THOMASVILLE, GA 31792-6642           Common Stock                      33
  COOPER C THURBER                                         ADDRESS ON FILE                      Common Stock                       1
                                                           2358 RIVERSIDE AVE APT 203
  CRISS & ASSOCIATES, INC.                                 JACKSONVILLE, FL 32204-4697          Common Stock                       6
                                                           PO BOX 1388
  CROSS FINANCIAL CORP.                                    BANGOR, ME 04402-1388                Common Stock                   2,043
  D. RONNIE MILLS AND JEREMY MICHAEL MILLS, , AS CO-
  TRUSTEES OF THE RONNIE MILLS DGT FAMILY TRUSTS
  U/T/A DATED SEPTEMBER 21, 2020                           ADDRESS ON FILE                      Common Stock                      71
  DAMON R PARKER                                           ADDRESS ON FILE                      Common Stock                       1
  DAMON R PARKER                                           ADDRESS ON FILE                      Common Stock                      16
  DARRELL BEASLEY                                          ADDRESS ON FILE                      Common Stock                       7
                                                           C/O DEWITT C THOMPSON, 1245
                                                           BRIDGESTONE PKWY
  DATCAT 7 RISK MANAGEMENT, INC.                           LAVERGNE, TN 37086                   Common Stock                      15
  DAVID AND KATHRYN LIEBETREU                              ADDRESS ON FILE                      Common Stock                      19
  DAVID D GAYLE                                            ADDRESS ON FILE                      Common Stock                      14
  DAVID GLENN HEARD                                        ADDRESS ON FILE                      Common Stock                      41
  DAVID J. DENNIS                                          ADDRESS ON FILE                      Common Stock                      38
  DAVID L. NUNES                                           ADDRESS ON FILE                      Common Stock                      19
  DAVID MICHAEL PRESNELL                                   ADDRESS ON FILE                      Common Stock                       1
  DAVID MICHAEL PRESNELL                                   ADDRESS ON FILE                      Common Stock                      23



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                                                   Registered Holders List

                        Holder Name                                  Address              Class of Interest   Number of Shares
  DAVID N. BEAUCHAMP                                 ADDRESS ON FILE                      Common Stock                     354
  DENIS MININ                                        ADDRESS ON FILE                      Common Stock                   1,471
  DENTAL ASSOCIATES OF SOUTHWEST GEORGIA, LLC 401(K)
  PROFIT SHARING PLAN FBO THOMA                      ADDRESS ON FILE                      Common Stock                      20
  DENVER D. TRAWICK III                              ADDRESS ON FILE                      Common Stock                       3
  DEVAUGHN THOMPSON                                  ADDRESS ON FILE                      Common Stock                     110
  DEWITT C. THOMPSON, V                              ADDRESS ON FILE                      Common Stock                     136
  DMITRY BARSUKOV                                    ADDRESS ON FILE                      Common Stock                   4,424
  DON E WHITMIRE                                     ADDRESS ON FILE                      Common Stock                       6
  DON R GRIFFIN OR SARAH GRIFFIN                     ADDRESS ON FILE                      Common Stock                     110

  DONALD KELLEY LANE, TRUSTEE OF LANDCROP
  INSURANCE 401K PLAN FBO DONALD KELLEY LANE #9971756 ADDRESS ON FILE                     Common Stock                       7
  DOUG YOUNG                                          ADDRESS ON FILE                     Common Stock                       3
  DOUGLAS B. LOWEY, IRA                               ADDRESS ON FILE                     Common Stock                      36
  DOUGLAS B. RHOADES                                  ADDRESS ON FILE                     Common Stock                       3
  DR. ISAO NODA                                       ADDRESS ON FILE                     Common Stock                       1
  DR. JACK H. LEVERETT                                ADDRESS ON FILE                     Common Stock                       3
  E. JONATHAN PERRY IV                                ADDRESS ON FILE                     Common Stock                       2
  EDDIE TERRIL SCOTT                                  ADDRESS ON FILE                     Common Stock                  78,096
  EDWARD J STINCER OR LEISA A STINCER                 ADDRESS ON FILE                     Common Stock                       5
  EDWARD WHITE                                        ADDRESS ON FILE                     Common Stock                     196
  ENA NODA                                            ADDRESS ON FILE                     Common Stock                     250

  EQUITY TRUST COMPANY CUSTODIAN FBO BRIAN SUTH IRA ADDRESS ON FILE                       Common Stock                      81
  EQUITY TRUST COMPANY CUSTODIAN FBO MICHAEL
  ASHTON HUDSON ROTH IRA                              ADDRESS ON FILE                     Common Stock                       7
  EVAN BAKST                                          ADDRESS ON FILE                     Common Stock                       7
                                                      11100 SANTA MONICA BLVD STE 1900
  FARGO INVESTMENTS, LP                               LOS ANGELES, CA 90025-0525          Common Stock                     157
                                                      144 W ALEXANDER PALM RD
  FERNYHOUGH INVESTMENTS LTD.                         BOCA RATON, FL 33432-7907           Common Stock                      52
  FRANK D MAY ("DUSTY")                               ADDRESS ON FILE                     Common Stock                     109
  FRANK W. SIMMONS                                    ADDRESS ON FILE                     Common Stock                      85
  GARY J. RUTH                                        ADDRESS ON FILE                     Common Stock                      13
  GARY LEMKE                                          ADDRESS ON FILE                     Common Stock                       7
  GARY METZGER                                        ADDRESS ON FILE                     Common Stock                     817
  GARY PHILLIPS                                       ADDRESS ON FILE                     Common Stock                       6
  GARY R. CHARTRAND REVOCABLE TRUST                   ADDRESS ON FILE                     Common Stock                      15
  GEORGE COX TR THE DECEDENT'S TRUST OF GEORGE &
  THEDA FAMILY TRUST U/A DTD 01/29/1980               ADDRESS ON FILE                     Common Stock                   2,044
  GEORGE E. DANIEL, JR. AND ANNA Y. DANIEL OR CAROLYN
  C. DANIEL                                           ADDRESS ON FILE                     Common Stock                      13
  GEORGE W. SIMMONS                                   ADDRESS ON FILE                     Common Stock                      52
  GERALD W. PERRITT                                   ADDRESS ON FILE                     Common Stock                       5
                                                      241 ATLANTIC BLVD STE 201
  GREEN PLASTIC HOLDINGS, LLC                         NEPTUNE BEACH, FL 32266             Common Stock                     204
  GREG BESS                                           ADDRESS ON FILE                     Common Stock                      13
  GREGG MCKENZIE CORP PENSION & PROFIT SHARING PLAN 1 PERSHING PLAZA 7TH FLR
  A/C #3WC-027114                                     JERSEY CITY, NJ 07399               Common Stock                      59
  H.L. YARBROUGH (BUTCH)                              ADDRESS ON FILE                     Common Stock                      54
  HAROLD A. HUDSON                                    ADDRESS ON FILE                     Common Stock                       3
  HAROLD L PHILLIPS                                   ADDRESS ON FILE                     Common Stock                       1
  HENRY C. AND DIANE H. SATTERFIELD TENANTS BY
  ENTIRETY                                            ADDRESS ON FILE                     Common Stock                      96
  HENRY GRANT GAINER, SR                              ADDRESS ON FILE                     Common Stock                       2
  HENRY SATTERFIELD, III                              ADDRESS ON FILE                     Common Stock                      21
  HOFFMAN ENTERPRISES, LLC                            ADDRESS ON FILE                     Common Stock                       6
  HOMER E. BRECKENRIDGE, III                          ADDRESS ON FILE                     Common Stock                     211
  HOMER E. BRECKENRIDGE, III, MD PC 401(K) PROFIT
  SHARING PLAN                                        ADDRESS ON FILE                     Common Stock                      10
  IRA FBO FRANCES CHRISTAKOS CETERA INVSTMNT SVC AS
  CUST                                                ADDRESS ON FILE                     Common Stock                       8
  ISAO AND BARBARA NODA                               ADDRESS ON FILE                     Common Stock                       7
  ISAO NODA                                           ADDRESS ON FILE                     Common Stock                     104
  JACK H. LEVERETT, JR.                               ADDRESS ON FILE                     Common Stock                     168
  JACK NICKLAUS REVOCABLE TRUST                       ADDRESS ON FILE                     Common Stock                       7
  JACK WILLIAM NICKLAUS II                            ADDRESS ON FILE                     Common Stock                     873
  JAMES A. SPOONER                                    ADDRESS ON FILE                     Common Stock                       3
  JAMES E STEPHENSON                                  ADDRESS ON FILE                     Common Stock                      31
  JAMES H. DAHL                                       ADDRESS ON FILE                     Common Stock                      28



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                         Holder Name                                      Address             Class of Interest   Number of Shares
  JAMES S SCHMITT D/B/A WESTCOUNTRY FINANC              ADDRESS ON FILE                       Common Stock                      19
  JAMES VANN HORNSBY                                    ADDRESS ON FILE                       Common Stock                       1
  JAMES W DOZIER                                        ADDRESS ON FILE                       Common Stock                     181
  JASON M LEE                                           ADDRESS ON FILE                       Common Stock                      14
  JASON MICHAEL CRAIN                                   ADDRESS ON FILE                       Common Stock                       4
  JEFF C MILLER TRUSTEE, ZOSO CONSULTING INC 401(K)
  PROFIT SHARING PLAN                                   ADDRESS ON FILE                       Common Stock                       6
  JEFFREY B TAPLEY                                      ADDRESS ON FILE                       Common Stock                       3
  JEFFREY B TAPLEY                                      ADDRESS ON FILE                       Common Stock                      53
  JENNIFER C. PERRITT                                   ADDRESS ON FILE                       Common Stock                       5
  JERALD A HAMMANN                                      ADDRESS ON FILE                       Common Stock                       1
  JOHN & BRENDA DOWDY TRUSTS II U/T/A 09/30/20          ADDRESS ON FILE                       Common Stock                      39
  JOHN A. ECONOMOS IRREVOCABLE TRUST                    ADDRESS ON FILE                       Common Stock                     300
  JOHN AND GAIL HARRISON FAMILY TRUST DTD 10/28/16      ADDRESS ON FILE                       Common Stock                       5
  JOHN BRIDGES SR. ESTATE                               ADDRESS ON FILE                       Common Stock                       5
  JOHN F. HUFF                                          ADDRESS ON FILE                       Common Stock                       1
  JOHN L. CLARK III AND SUSAN S CLARK                   ADDRESS ON FILE                       Common Stock                       1
  JOHN M. BRIDGES, JR.                                  ADDRESS ON FILE                       Common Stock                       6
  JOHN N YANCEY                                         ADDRESS ON FILE                       Common Stock                       2
  JOHN N YANCEY                                         ADDRESS ON FILE                       Common Stock                      34
  JOHN N. YANCEY                                        ADDRESS ON FILE                       Common Stock                     203
  JOHN P. MOORE JR.                                     ADDRESS ON FILE                       Common Stock                      54
  JOHN R WELLS                                          ADDRESS ON FILE                       Common Stock                       5
  JOHN R WELLS                                          ADDRESS ON FILE                       Common Stock                      91
  JOHN R. BEERS OR JOAN E. BEERS                        ADDRESS ON FILE                       Common Stock                       8
  JOHN RICHARD SUTH                                     ADDRESS ON FILE                       Common Stock                      16
  JON MICHAEL MORGAN                                    ADDRESS ON FILE                       Common Stock                       3
  JORDAN C. GRIFFIN                                     ADDRESS ON FILE                       Common Stock                      10
  JOSEPH B. THOMASON                                    ADDRESS ON FILE                       Common Stock                       5
  JOSEPH E BRIDGES                                      ADDRESS ON FILE                       Common Stock                       7
  JOSEPH L. HUTCHENS AND LINDA P. PRICE                 ADDRESS ON FILE                       Common Stock                       2
  JOSEPH M WILSON                                       ADDRESS ON FILE                       Common Stock                       6
  JOSEPH M WILSON                                       ADDRESS ON FILE                       Common Stock                      96
  JOSEPH SCHIENOFF                                      ADDRESS ON FILE                       Common Stock                      34
  JOSEPH W. & VICKIE M CONWAY FAMILY TRUST              ADDRESS ON FILE                       Common Stock                       6
  JOSEPH W. GRIMSLEY                                    ADDRESS ON FILE                       Common Stock                      63
  JOSEPH WAYNE HUDSON                                   ADDRESS ON FILE                       Common Stock                       3
  JOSHUA RYAN ASKEW                                     ADDRESS ON FILE                       Common Stock                     212
  JUBILEE GROUP                                         ADDRESS ON FILE                       Common Stock                      14
  JUN NODA                                              ADDRESS ON FILE                       Common Stock                     250
  K SCOTT WHITEHEAD OR EDNA HALL                        ADDRESS ON FILE                       Common Stock                       7
  KAREN CARTER ARTHUR                                   ADDRESS ON FILE                       Common Stock                      10
  KARL G. ESTES IRREVOCABLE TRUST                       ADDRESS ON FILE                       Common Stock                      16
  KATHY CORBETT                                         ADDRESS ON FILE                       Common Stock                       7
  KEITH BUCKHAULTER                                     ADDRESS ON FILE                       Common Stock                       3
  KELVIN VICKERS                                        ADDRESS ON FILE                       Common Stock                       1
  KELVIN VICKERS                                        ADDRESS ON FILE                       Common Stock                      23
  KENJI NODA AND NAOMI NODA JT/WROS                     ADDRESS ON FILE                       Common Stock                     250
  KEVIN S. THOMAS                                       ADDRESS ON FILE                       Common Stock                       5
                                                        2074 CENTRE POINTE BLVD STE 200
  KIDD & COMPANY, INC                                   TALLAHASSEE, FL 32308-7831            Common Stock                      98
  KIM A HOPKINS                                         ADDRESS ON FILE                       Common Stock                       8
  KIM SETTLES TR KIM SETTLES LIVING TRUST U/A DTD
  2/21/23                                               ADDRESS ON FILE                       Common Stock                      55
  KIRIL SOKOLOFF                                        ADDRESS ON FILE                       Common Stock                      65

                                                        4230 PABLO PROFESSIONAL COURT STE 250
  KMO HOLDINGS, LLC                                     JACKSONVILLE, FL 32224                Common Stock                       6
  KYLE D. RIVA REVOCABLE TRUST                          ADDRESS ON FILE                       Common Stock                      54
  LARRY BATCHELOR MECHANICAL, LLC                       ADDRESS ON FILE                       Common Stock                      44
  LAURA LYNN POWELL AND STANLEY RALPH POWELL,
  TRUSTEES OF THE RALPH POWELL, JR. DGT TRUST DATED
  JUNE 11, 2016                                         ADDRESS ON FILE                       Common Stock                     194
  LAWTON T. LORD                                        ADDRESS ON FILE                       Common Stock                       4
  LEWIS HEAFITZ                                         ADDRESS ON FILE                       Common Stock                     136
  LINDA D. HARTMAN                                      ADDRESS ON FILE                       Common Stock                      11
  LYNDA I TODARO                                        ADDRESS ON FILE                       Common Stock                      54
  LYNN E BLASSER REVOCABLE TRUST UAD 3/14/95            ADDRESS ON FILE                       Common Stock                       6
  MARTHA RAMPEY THOMAS                                  ADDRESS ON FILE                       Common Stock                       5
  MARY T KING                                           ADDRESS ON FILE                       Common Stock                       2
  MATTHEW HOEHNE                                        ADDRESS ON FILE                       Common Stock                      23



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                                                      Registered Holders List

                                Holder Name                               Address               Class of Interest   Number of Shares
  MAX BERTZ                                               ADDRESS ON FILE                       Common Stock                      45
                                                          2048 TRIMLESTON RD
  MCLEOD SELLERS, LLC                                     STATHAM, GA 30666-2550                Common Stock                      14
  MELANIE KEMP                                            ADDRESS ON FILE                       Common Stock                     203
  MELISSA ROBERTS                                         ADDRESS ON FILE                       Common Stock                       3
  MERRIL LYNCH CUSTODAIN FBO CAROL JEAN HIGHT IRA         ADDRESS ON FILE                       Common Stock                       7
  MERRILL LYNCH CUSTODIAN FBO EDGAR DENNIS HIGHT          ADDRESS ON FILE                       Common Stock                       7
  MICHAEL ASHTON HUDSON LIVING TRUST                      ADDRESS ON FILE                       Common Stock                       7
  MICHAEL E. EDENFIELD                                    ADDRESS ON FILE                       Common Stock                      16
  MICHAEL J. ECONOMOS IRREVOCABLE TRUST                   ADDRESS ON FILE                       Common Stock                      54
  MICHAEL JOHN PERNICIARO JR                              ADDRESS ON FILE                       Common Stock                       4
  MICHAEL JOHN PERNICIARO JR                              ADDRESS ON FILE                       Common Stock                      68
  MICHAEL TADASHI NODA AND JILLIAN GOLDIE WALDMAN
  JT/WROS                                                 ADDRESS ON FILE                       Common Stock                     250
  MICHAEL TODD DEAN OR MALINDA BELL DEAN                  ADDRESS ON FILE                       Common Stock                     110
  MICKI L KOHN                                            ADDRESS ON FILE                       Common Stock                       1
  MICKI L KOHN                                            ADDRESS ON FILE                       Common Stock                      21
  MILDRED D. JOHN AND PAUL R. JOHN                        ADDRESS ON FILE                       Common Stock                   4,088
                                                          PO BOX 418
  MILLS AND WIDENER, LLC                                  CAIRO, GA 39828-0418                  Common Stock                      22
  MINOR ACCOUNT FOR ALEXANDRA IRENE NODA-WALDMAN
  C/O MICHAEL TADASHI NODA                                ADDRESS ON FILE                       Common Stock                     250
  MITIGATION DEVELOPMENT SERVICES PENSION TRUST U/A       8149 GREEN GLADE RD
  DATED 12/26/2006                                        JACKSONVILLE, FL 32256-7303           Common Stock                       6

  MONTEREY PRIVATE CAPITAL, INC. DEFINED BENEFIT PLAN     4230 PABLO PROFESSIONAL COURT STE 250
  FBO BRUCE N. ORR #1873720                               JACKSONVILLE, FL 32224                Common Stock                      98
                                                          20 S ROYAL ST
  MURDOCH INNOVATIONS, LLC                                MOBILE, AL 36602-3202                 Common Stock                   3,589
  NANCY C. CLARK                                          ADDRESS ON FILE                       Common Stock                      16
  NEWTON E KING JR.                                       ADDRESS ON FILE                       Common Stock                      11
  NICHOLAS J. ECONOMOS IRREVOCABLE TRUST                  ADDRESS ON FILE                       Common Stock                      54
                                                          1295 US HIGHWAY 1 FL 3
  NICKLAUS DANIMER, LLC                                   NORTH PALM BEACH, FL 33408-3762       Common Stock                   1,946
  NINA PRICCI IPPOLITO                                    ADDRESS ON FILE                       Common Stock                     250
  NUVIEW IRA, INC. FBO CHARLES RAY FRYE 9912127 IRA       ADDRESS ON FILE                       Common Stock                       7
  NUVIEW IRA, INC. FBO DOUGLAS A. YOUNG 9912034 IRA       ADDRESS ON FILE                       Common Stock                       4
  NUVIEW IRA, INC. FBO DOUGLAS ALLEN ROLLINS IRA          ADDRESS ON FILE                       Common Stock                       7

  NUVIEW IRA, INC. FBO JAMES VANN HORNSBY 9931896 IRA     ADDRESS ON FILE                       Common Stock                       6
  NUVIEW IRA, INC. FBO KEVIN MACMAHON 9911910             ADDRESS ON FILE                       Common Stock                       7
  NUVIEW IRA, INC. FBO LARRY L. HORNSBY 9926121 IRA       ADDRESS ON FILE                       Common Stock                      15
  NUVIEW IRA, INC. FBO S. ERWIN HARRELL 9942054 IRA       ADDRESS ON FILE                       Common Stock                       7
  NUVIEW IRA, INC. FBO STEPHEN LOVIC JONES                ADDRESS ON FILE                       Common Stock                      15
  NUVIEW IRA, INC., FBO ARTHUR C. BEAL, JR. IRA           ADDRESS ON FILE                       Common Stock                      24
  NUVIEW IRA, INC., FBO STEPHEN L. JONES                  ADDRESS ON FILE                       Common Stock                      36
  NUVIEW TRUST CO FBO LYNNE HOFFMAN IRA                   ADDRESS ON FILE                       Common Stock                       1
  NUVIEW TRUST CO. CUSTODIAN FBO TRACIE W. DIX IRA
  #1914373                                                ADDRESS ON FILE                       Common Stock                      78
  PATRICIA M PARROTT                                      ADDRESS ON FILE                       Common Stock                      22
  PAUL M PETERS                                           ADDRESS ON FILE                       Common Stock                       1
  PAUL M PETERS                                           ADDRESS ON FILE                       Common Stock                      26
  PEBBLE BLEACH LLC                                       ADDRESS ON FILE                       Common Stock                      52
  PERSHING LLC COUSTODIAN FBO GERALD W PERRITT IRA
  A/C # 3WC025514                                         ADDRESS ON FILE                       Common Stock                       7
  PERSHING LLC CUSTODAIN FBO MARTY D FORSTER IRA A/C
  # 3WC0198220                                            ADDRESS ON FILE                       Common Stock                       3
  PERSHING LLC CUSTODAIN FBO WAYNE E MIDDLETON IRA
  A/C # 3WC018774                                         ADDRESS ON FILE                       Common Stock                      11
  PERSHING LLC CUSTODIAN FBO ANGELA DENISE FORSTER
  IRA A/C # 3WC019780                                     ADDRESS ON FILE                       Common Stock                       3
  PERSHING LLC CUSTODIAN FBO CATHRYN W. HAGAN IRA
  A/C # 3WC025530                                         ADDRESS ON FILE                       Common Stock                       5
  PERSHING LLC CUSTODIAN FBO CHARLES RAMPEY, IRA -
  A/C #3WC0259441                                         ADDRESS ON FILE                       Common Stock                       6
  PERSHING LLC CUSTODIAN FBO JEFFERY D WEATHERSBY
  A/C# 3WC0192281                                         ADDRESS ON FILE                       Common Stock                       7
  PERSHING LLC CUSTODIAN FBO JOHN T MOORE IRA - A/C#
  3WC0198481                                              ADDRESS ON FILE                       Common Stock                      10
  PERSHING LLC CUSTODIAN FBO LAURA H CHAMBLEE SEP
  IRA                                                     ADDRESS ON FILE                       Common Stock                       7



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                        Holder Name                                     Address               Class of Interest   Number of Shares
  PERSHING LLC CUSTODIAN FBO REBECCA S. MCKENZIE, IRA
  - A/C # 3WC027015                                     ADDRESS ON FILE                       Common Stock                       2
  PHELLA YOUNG                                          ADDRESS ON FILE                       Common Stock                       3
  PHILIP GREGORY CALHOUN                                ADDRESS ON FILE                       Common Stock                   6,345
  PHILIP GREGORY CALHOUN AND PHILIP GREGORY
  CALHOUN, JR., AS CO-TRUSTEES OF THE GREG CALHOUN
  DGT FAMILY TRUSTS U/T/A DATED SEPTEMBER 22, 2020 -
  GST EXEMPT TRUST                                      ADDRESS ON FILE                       Common Stock                  86,424
  PHILIP GREGORY CALHOUN AND PHILIP GREGORY
  CALHOUN, JR., AS CO-TRUSTEES OF THE GREG CALHOUN
  DGT FAMILY TRUSTS U/T/A DATED SEPTEMBER 22, 2020 NON-
  GST EXEMPT TRUST                                      ADDRESS ON FILE                       Common Stock                   1,683
  PHILLIP G HAMILTON                                    ADDRESS ON FILE                       Common Stock                       1
  PHILLIP M. DOZIER                                     ADDRESS ON FILE                       Common Stock                      32
  PHILLIP VAN TRUMP                                     ADDRESS ON FILE                       Common Stock                     613
                                                        1404 OAK DR
  PINE RIDGE MANAGEMENT, LLC                            BAINBRIDGE, GA 39819-5222             Common Stock                      23
                                                        241 ATLANTIC BLVD STE 201
  POLYMER HOLDINGS, LLC                                 NEPTUNE BEACH, FL 32266-5282          Common Stock                      86
                                                        850 TECH DR ATTN JOHN HUFF
  PRECISION MECHANICAL, INC.                            WINCHESTER, KY 40391-6080             Common Stock                      19
  RALPH POWELL JR. DESCENDANT TRUST                     ADDRESS ON FILE                       Common Stock                      73
  RALPH POWELL, JR.                                     ADDRESS ON FILE                       Common Stock                     980
  RAYMOND JAMES & ASSOC INC CSDN FBO DANA B PHILLIPS
  IRA                                                   ADDRESS ON FILE                       Common Stock                      16
  RAYMOND JAMES & ASSOC INC CSDN FBO GARY JAMES
  PHILLIPS IRA                                          ADDRESS ON FILE                       Common Stock                      16
  RICHARD & DIANE IVEY FAMILY TRUSTS, U/T/A 8/31/07     ADDRESS ON FILE                       Common Stock                      47
  RICHARD D. LAGUARDIA IV                               ADDRESS ON FILE                       Common Stock                       6
  RICHARD EATON                                         ADDRESS ON FILE                       Common Stock                     817
  RICHARD F. IVEY JR.                                   ADDRESS ON FILE                       Common Stock                      37
  RICHARD F. IVEY SIBLINGS TRUSTS, U/T/A 8/31/07        ADDRESS ON FILE                       Common Stock                       4
  RICHARD K HAROLD                                      ADDRESS ON FILE                       Common Stock                       1
  RICHARD K HAROLD                                      ADDRESS ON FILE                       Common Stock                      16
  ROBERT C CHAMBLEE OR LAURA CHAMBLEE                   ADDRESS ON FILE                       Common Stock                      15
  ROBERT D. HARTMAN                                     ADDRESS ON FILE                       Common Stock                      11
  ROBERT HOPKINS, III                                   ADDRESS ON FILE                       Common Stock                       1
  ROBERT L MERRITT                                      ADDRESS ON FILE                       Common Stock                      27
  ROBERT L RICH III                                     ADDRESS ON FILE                       Common Stock                       8
  ROBERT LOLLEY OR PAMELA LOLLEY                        ADDRESS ON FILE                       Common Stock                       5
  ROGER D DAY                                           ADDRESS ON FILE                       Common Stock                     369
  ROGER L MILLS                                         ADDRESS ON FILE                       Common Stock                       7
  RONALD WESLEY VANN                                    ADDRESS ON FILE                       Common Stock                       6
  ROY R DUNCAN III                                      ADDRESS ON FILE                       Common Stock                     184
  ROZIER, CHARLES                                       ADDRESS ON FILE                       Common Stock                      28
  RUSSELL MULLINS                                       ADDRESS ON FILE                       Common Stock                      53
  RUTH B. SANSOM OR G. ANNE SANSOM                      ADDRESS ON FILE                       Common Stock                       7
                                                        209 HAZELWOOD AVE
  RWL INVESTMENTS, LLC                                  DOTHAN, AL 36303-3853                 Common Stock                      14
  SANDRA P. GRIFFIN                                     ADDRESS ON FILE                       Common Stock                      25
  SARAH P. MCGUFFEY                                     ADDRESS ON FILE                       Common Stock                       1
  SCOTT C. TUTEN                                        ADDRESS ON FILE                       Common Stock                   1,275
  SCOTT POWELL                                          ADDRESS ON FILE                       Common Stock                       1
  SHEILA GATES 2008 GIFT TRUST                          ADDRESS ON FILE                       Common Stock                   1,226
  SHERRY S. MIDDLETON                                   ADDRESS ON FILE                       Common Stock                      54
  SOL HAN                                               ADDRESS ON FILE                       Common Stock                       1
                                                        909 POYDRAS ST STE 2230
  SOUTHEAST COMMUNITY DEVELOPMENT FUND X, L.L.C.        NEW ORLEANS, LA 70112-4003            Common Stock                      33
                                                        ATTN: GLENNIE BENCH 1711 E SHOTWELL
                                                        ST
  SOUTHWEST GA OIL CO.                                  BAINBRIDGE, GA 39819                  Common Stock                       4
  STANLEY W. DRIVER                                     ADDRESS ON FILE                       Common Stock                       4
  STEPHAN C. ECONOMOS IRREVOCABLE TRUST                 ADDRESS ON FILE                       Common Stock                      16
  STUART W. PRATT                                       ADDRESS ON FILE                       Common Stock                  35,411
  SUSANNAH P. CRAIG                                     ADDRESS ON FILE                       Common Stock                       2
  SUTH 2012 FAMILY TRUST BROKERAGE                      ADDRESS ON FILE                       Common Stock                       6
                                                        62 JIMMY BOATRIGHT RD
  TAYLOR-GIRTMAN INVESTMENTS, LLC                       HAZLEHURST, GA 31539-7514             Common Stock                       7
  THE 2002 JACOBSON FAMILY TRUST DATED JUNE 3, 2002     ADDRESS ON FILE                       Common Stock                      65
  THE HUNTER M. GHOLSON IRREVOCABLE TRUST               ADDRESS ON FILE                       Common Stock                     136
  THE KARL G. ESTES MARITAL TRUST                       ADDRESS ON FILE                       Common Stock                      11



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                       Holder Name                                        Address           Class of Interest   Number of Shares
  THE KARL G. ESTES RESIDUARY TRUST                     ADDRESS ON FILE                     Common Stock                      99
  THE SUTH 2012 FAMILY TRUST DTD 02/04/2012 MRS.
  KIMBERLY S. SUTH, TRUSTEE                             ADDRESS ON FILE                     Common Stock                       1
  THOMAS K. LEGGETT, JR. OR CAROL G. LEGGETT            ADDRESS ON FILE                     Common Stock                       2
                                                        241 ATLANTIC BLVD STE 201
  THREE SIGMA HOLDINGS, LLC                             NEPTUNE BEACH, FL 32266-5282        Common Stock                      24
                                                        2790 S THOMPSON ST STE 102
  TOLAINV, LLC                                          SPRINGDALE, AR 72764-6307           Common Stock                   3,065
  TRAVIS SHERMAN                                        ADDRESS ON FILE                     Common Stock                      12
                                                        1441 BRICKELL AVE STE 1510
  TROY PLASTICS LLC                                     MIAMI, FL 33131-3439                Common Stock                     304
                                                        PO BOX 449
  TRUSTLAND PARTNERS, LLC                               PONTE VEDRA BEACH, FL 32004-0449    Common Stock                      29
                                                        437 W WEBSTER AVE
  UNION PIER LLC                                        CHICAGO, IL 60614-3854              Common Stock                      52
  W. RALPH BYRD                                         ADDRESS ON FILE                     Common Stock                       7
  WADE POWELL OR CLAIRE G POWELL                        ADDRESS ON FILE                     Common Stock                      11
                                                        ATTN: STUART PRATT
                                                        303 CONGRESS ST
  WENTWORTH 84                                          BOSTON, MA 02210                    Common Stock                     301
  WESLEY A. HARRIS                                      ADDRESS ON FILE                     Common Stock                      11
  WILLIAM BENJAMIN BODIE                                ADDRESS ON FILE                     Common Stock                       2
  WILLIAM C THOMPSON                                    ADDRESS ON FILE                     Common Stock                      14
  WILLIAM H ALLEN OR SHERI B ALLEN                      ADDRESS ON FILE                     Common Stock                      14
  WILLIAM J GAMBLE JR                                   ADDRESS ON FILE                     Common Stock                       1
  WILLIAM J GAMBLE JR                                   ADDRESS ON FILE                     Common Stock                      24
  WILLIAM S. FOLEY                                      ADDRESS ON FILE                     Common Stock                      39
  WILLIAM W. GHOLSON                                    ADDRESS ON FILE                     Common Stock                      49




In re: Danimer Scientific, Inc., et al.                                                                                  Page 6 of 6
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 Fill in this information to identify the case and this filing:


             Danimer Scientific, Inc.
 Debtor Name __________________________________________________________________
                                                                            Delaware
 United States Bankruptcy Court for the: ______________________ District of __________
                                                                               (State)
 Case number (If known):    _________________________




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


          Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
          Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
          Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
          Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
          Schedule H: Codebtors (Official Form 206H)
          Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
          Amended Schedule ____

          Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                                                     Corporate Ownership Statement; List of Equity Security Holders
          Other document that requires a declaration__________________________________________________________________________________



        I declare under penalty of perjury that the foregoing is true and correct.


                    03/18/2025
        Executed on ______________                          /s/ Stephen Martin
                                                               _________________________________________________________________________
                           MM / DD / YYYY                       Signature of individual signing on behalf of debtor



                                                                 Stephen Martin
                                                                ________________________________________________________________________
                                                                Printed name

                                                                 Chief Legal Officer and Corporate Secretary
                                                                ______________________________________
                                                                Position or relationship to debtor



Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
